Case 3:10-cr-00041-DNH Document1 Filed 12/03/09 Page 1 of 29 (1)

AO 91 (Rev. 6/85) Criminal Complaint US. DISTRICT COURT -ND.OF NY
—Cipcrn
TT ToL ey

United States District Court DEC - 3 7009
NORTHERN DISTRICT OF NEW YORK
Al OTLOCK
Lawrence K. Baerman, Clerk - Binghamton
UNITED STATES OF AMERICA
CRIMINAL COMPLAINT
v.
Case Number: 09-MJ-549
JOHN BRADLEY ICKES

1, the undersigned complainant being duly sworn state the following is true and correct to the best
of my knowledge and belief. On or about October, 2009 to present __ in_ BROOME county, in the Northern

District of New York defendant did commit the following offense:

Title 18, United States Code, Section 2422(b), entitled "Coercion and Enticement”, provides that:
"Whoever, using the mail or any facility or means of interstate or foreign commerce, or within the special

maritime and territorial jurisdiction of the United States knowingly persuades, induces, entices, or coerces any
individual who has not attained the age of 18 years, to engage in prostitution or any sexual activity for which any person
can be charged with a criminal offense, or attempts to do so, shall be fined under this title and imprisoned not less than
10 years or for life."

in violation of Title __ 18 , United States Code, Section 2422(b)

| further state that | am a_FBI Special Agent and that this complaint is based on the following facts:
ica! ie
SEE ATTACHED AFFIDAVIT

Continued on the attached sheet and made a part hereof,

James T. Lyons, Jr.
ecial Agent Federal Bureau of Investigation

Sworn to before me, and subscribed in my presence,

December 3, 2009 @ 4H HO QO.M. at Syracuse, New York
Date City and Sta

Hon. David E. Peebles, U.S. Magistrate Judge
Name and Title of Judicial Officer

Signature of Judictal Officer ‘
Case 3:10-cr-00041-DNH Document1 Filed 12/03/09 Page 2 of 29

AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, James T. Lyons, Jr., being duly sworn do depose and state as follows:

1. I have been employed as a Special Agent of the Federal Bureau of Investigation
(FBI) for approximately 12% years. I am currently assigned to the Albany Field Division,
Binghamton, New York Resident Agency. I am also a member of the Southern Tier Cyber
Predator Task Force (STCPTF) which conducts investigations involving the sexual exploitation
of minors via computers, cellular telephones, cameras, and the internet. I have investigated
matters involving the sexual exploitation of minors and have made arrests and conducted
searches pertaining to these types of investigations. While assigned to the FBI office in
Binghamton, New York, I have served as the Affiant in applications for search warrants and
requests for interception of electronic and wire communications.

2. This affidavit is made in support of a request for the issuance of an arrest warrant
for John Bradley Ickes, date of birth. 41963, of 10 Washington Avenue, Apartment 13,
Endicott, New York, and 3145 Stewart Road, Lot A-21, Vestal, New York. Both of the
locations in which Ickes resided (Endicott and Vestal, New York) are located within the Northen
District of New York. Based upon investigation and the facts provided below, your Affiant
submits there is probable cause to believe Ickes committed a federal crime by Attempting to
Persuade/Entice a Minor to Engage in Sexual Conduct, in violation of Title 18, United States
Code, Section 2422(b). The Victim, whose identity is known to your affiant, is a 16 year old

minor female who resides in the state of Pennsylvania.
»

Case 3:10-cr-00041-DNH Document1 Filed 12/03/09 Page 3 of 29

3. The statements contained in this affidavit are based in part on information
provided by Special Agents of the FBI, members of the STCPTF, Vestal Police Department
(VPD), Endicott Police Department (EPD), Pennsylvania State Police (PSP), New York State
Police (NYSP), and on my experience and background as a Special Agent with the FBI. Since
this affidavit is being submitted for the limited purpose of establishing probable cause to obtain
an arrest warrant, I have not included every fact known to me concerning this investigation. |
have set forth only the facts 1 believe are necessary to establish probable cause to believe that
John Bradley Ickes violated Title 18, United States Code, Sections 2422(b).

APPLICABLE LAW

4. Title 18, United States Code, Section 2422(b), entitled "Coercion and
Enticement”, provides that:

"Whoever, using the mail or any facility or means of interstate or foreign commerce, or
within the special maritime and territorial jurisdiction of the United States knowingly persuades,
induces, entices, or coerces any individual who has not attained the age of 18 years, to engage in
prostitution or any sexual activity for which any person can be charged with a criminal offense,
or attempts to do so, shall be fined under this title and imprisoned not less than 10 years or for
life."

ICKES' CRIMINAL HISTORY

5. A review of John Bradley Ickes' criminal history revealed that in or about August
2007, Ickes was arrested in Broome County, New York, for the misdemeanor offenses of
Endangering the Welfare of a Child and Stalking, Fourth Degree. The criminal history report

reflected Ickes pleaded guilty to Endangering the Welfare of a Child in satisfaction of all charges.

2
Case 3:10-cr-00041-DNH Document1 Filed 12/03/09 Page 4 of 29

A review of the NYSP Incident report regarding this arrest revealed Ickes had improper
communications with a 16 year old minor female who resided in the state of Pennsylvania (a
different minor than the victim minor involved in this current charge). Ickes purchased this 16
year old minor female a cellular telephone to facilitate communication between Ickes and the
minor female.

6. Ickes’ criminal history report further revealed that in or about December 1996,
Ickes was convicted in the state of Texas for the felony offense of Sexual Assault of Another
Person, Second Degree. The disposition for this offense was reported as "unknown". However,
a review of the New York State Sex Offender Registry revealed Ickes received a prison sentence
of 8 years for this offense. In addition, Ickes admitted to VPD that he served approximately 7
years in prison for his Texas sex offense conviction.

7. A review of the New York State Sex Offender Registry also confirmed Ickes was
listed as a Level ITI sex offender who resided in Endicott, New York. A copy of the New York
State Sex Offender Registry page regarding Ickes is attached for review and is marked as
"Exhibit 1".

8. __ In addition to being arrested in New York state, Ickes criminal history sheet
reflects other arrests in Texas, Utah, Maryland, and Pennsylvania for the charged crimes of
Carrying a Prohibited Weapon, Burglary, Possession of a Controlled Substance, Retail Theft,
Fugitive From Justice, Breaking and Entering, Destruction of Property, and Contempt for
Violation of Order of Protection.

F. UAL BACKGROUND

9. On or about November 18, 2009, VPD received a complaint from an individual at
Case 3:10-cr-00041-DNH Document1 Filed 12/03/09 Page 5 of 29

3145 Stewart Road, Vestal, New York, that John Bradley Ickes, date of birth: 03/19/1963, a
convicted sex offender, was residing at 3145 Stewart Road, Lot A-21, Vestal, New York. The
complainant alleged that Ickes had not notified VPD, as required by sex offender legislation, that
Ickes was residing at the Stewart Road address

10. | VPD conducted investigation and confirmed Ickes was residing at 3145 Stewart
Road, Lot A-21, Vestal, New York with Lawrence Crouthers (an adult male) and Angela
Campbell (an adult female), VPD also leamed that while residing at this Vestal residence, Ickes
was communicating by way of cellular telephone and the internet, with a 16 year old minor
female (hereafter "Victim") who resides in Pennsylvania.

11. | VPD determined that while residing at 3145 Stewart Road, Lot A-21, Vestal, New
York, Ickes also maintained a residence at the 10 Washington Avenue, Apartment 13, Endicott,
New York. On or about November 18, 2009, VPD officers interviewed Ickes at his Vestal
residence. Ickes admitted he purchased the residence at 3145 Stewart Road, Lot A-21 Vestal,
New York, but claimed he transferred ownership of the residence to Crouthers. Ickes stated he
maintained the Washington Avenue residence in Endicott, New York, but was unable to stay at
the Endicott residence due to a bed bug problem. Ickes subsequently departed the 3145 Stewart
Road residence in the presence of VPD officers. Investigators observed Ickes in possession ofa
laptop computer bag when Ickes departed the Vestal residence.

12, On or about November 19, 2009, investigators interviewed Angela Campbell at
the 3145 Stewart Road, Vestal, New York residence. Campbell admitted Ickes had recently been
residing at the residence. Campbell was aware that Ickes was communicating with the Victim

via cellular telephone and the intemet. Ickes used his laptop computer to communicate with the
Case 3:10-cr-00041-DNH Document1 Filed 12/03/09 Page 6 of 29

Victim via the internet. Campbell found a pair of girls panties, size 6, in Ickes bedroom and a
picture of a minor female whose identity is known to Campbell. Ickes also observed a picture of
Campbell's 15 year old minor female daughter and Ickes commented "She's trainable and
screwable because she can do the Lord's work".

13. Onor about November 25, 2009, investigators interviewed Crouthers who stated,
in words or substance, that Ickes possessed a laptop computer at the 3145 Stewart Road, Vestal,
New York residence. Ickes admitted he communicated with the Victim via this laptop computer
and Ickes also admitted he had inappropriate "sexy talk" with the Victim via the internet or
cellular telephone. Ickes said if the Victim was "old enough to bleed, she was old enough to
butcher". Ickes also told Crouthers that Ickes purchased a cellular telephone and Ickes mailed the
cellular telephone to the Victim.

14. On or about November 24, 2009, VPD telephonically contacted Ickes and
requested to speak with Ickes. VPD officers subsequently observed Ickes as Ickes exited the
building at 10 Washington Avenue, Endicott, New York. VPD officers had a conversation with
Ickes in which Ickes admitted he was communicating with the Victim by way of e-mail and
cellular telephone. Ickes did not admit that he engaged in any sexually explicit communications
or conversations with the Victim. VPD subsequently arrested Ickes for the New York state
felony offense of Failure to Register under the New York State Sex Offender Registration Act.
VPD officers located two cellular telephones on Ickes' person during the course of Ickes’ arrest.

VPD officers took possession of these two cellular telephones for safekeeping.

VICTIM ADMITS TO SEXUALLY EXPLICIT COMMUNICATIONS WITH ICKES

15. | Onor about November 23, 2009, an investigator interviewed the Victim and the
Case 3:10-cr-00041-DNH Document1 Filed 12/03/09 Page 7 of 29

Victim admitted she was communicating with Ickes for approximately three weeks. During this
interview, the Victim denied she engaged in sexually explicit communications with Ickes.
However, on or about November 25, 2009, the Victim was re-interviewed and the Vicitm
admitted, in words or substance, that the Victim had numerous text message and telephone
conversations with Ickes in which she and Ickes discussed engaging in sexual conduct. Ickes had
text message and telephone conversations with the Victim in which Ickes discussed engaging in
oral sex and intercourse. Ickes had text message telephonic conversations with the Victim from
his cellular telephone of 607-201-4214. Ickes wanted to travel from New York to Pennsylvania
to meet the Victim and engage in sexual conduct. Up until Ickes arrest by VPD on November 24,
2009, Ickes planned to travel to Pennsylvania and meet the Victim on Thanksgiving Day
(November 26, 2009). Ickes told the Victim he purchased the Victim a cellular telephone which

he mailed to the Victim.

PRESERVATION OF CONTENT IN ICKES' CELLULAR TELEPHONE ACCOUNT

16. | Onor about November 24, 2009, investigators forwarded a preservation request
to Verizon Wireless, 180 Washington Valley Road, Bedminster, New Jersey, that requested

Verizon Wireless preserve any and all content in Ickes' cellular telephone account of 607-201-
4214.

SEARCH WARRANTS OBTAINED FOR ICKES' ENDICOTT RESIDENCE, ICKES'

VERIZON WIRELESS CELLULAR TELEPHONE ACCOUNT, AND THE TWO
CELLULAR TELEPHONES LOCATED ON ICKES' PERSON AT THE TIME OF

ICKES' S

17. . On November 25, 2009, the Honorable George H. Lowe, United States

Magistrate Judge, Northern District of New York, signed warrants which authorized searches of
Case 3:10-cr-00041-DNH Document1 Filed 12/03/09 Page 8 of 29

the following locations/property:
a) The residence of John Ickes located at 10 Washington Avenue,
Apartment 13, Endicott, New York.
b) The Verizon Wireless cellular telephone account of John Ickes,
cellular number 607-201-4214
c) Cellular telephone 607-201-4214 and cellular telephone 607-321-3869
located on the person of John Ickes during Ickes' arrest by VPD on "
November 24, 2009.
18. On November 25, 2009, investigators executed the search warrant at Ickes
residence at 10 Washington Avenue, Apartment 13, Endicott, New York. Items of evidence
were seized from Ickes' residence which included a laptop computer, a desktop computer, two

cellular telephones, and additional computer-related media as well as other items of evidence.

SEARCH WARRANT EXECUTED ON ICKES' VERIZON WIRELESS CELLULAR
ACCOUNT OF 607-201-4214

19. | OnNovember 30, 2009, the aforementioned search warrant was served upon
Verizon Wireless, 180 Washington Valley Road, Bedminster, New Jersey. Pursuant to service
of the warrant, Verizon Wireless provided text message content stored in Ickes’ account. The
following text message conversations, in part, are a summary of text message communications,

provided by Verizon Wireless, that occurred between Ickes and the minor Victim:

_ Novmeber 15, 2009

Ickes: Is your mom watching the game 2?

Victim: Yeah im gonna go i dont feel good ill text you later
Case 3:10-cr-00041-DNH Document1 Filed 12/03/09 Page 9 of 29

Ickes: Maybe I'll give her a call and let her know that we've decided not 2 date then,
okay?

Victim: K bye

Ickes: Bye.....

Ickes: Whatchu up to sweety?

Victim: Hey you can call me now if you want to

Victim: Hey babe

Ickes: Yey sweetness, what's really going on?

Victim: Nothing laying here thinking and waiting for my aunt to go to bed

Ickes: Whatcha gonna do after she goes 2 bed?

Victim: Watch a little porn and play with myself

Ickes: Sounds like a plan sweety......

Victim: Yeah i cant wait cause im kind of horny idk y

Ickes: Maybe it's cuz I am 2 sweetness..... | want some of that juicy yum-yum luv.....

Victim: Really babe

Ickes: U know it sweet juiciness......

~ Victim: Mmmmm really babe
Ickes: _ Yes my luv, I want 2 suck your sweet juicy till u cry out in extacy like you've

never felt before

Victim: Mmmm and i want to ride up and down on your nice cock till you can't handle it
any more
Ickes: Oooweee luvergirl, one things 4 sure, we shuldn't have any trouble with our sex
Case 3:10-cr-00041-DNH Document 1 Filed 12/03/09 Page 10 of 29

life, aye?
Victim: Yeah babe
Ickes: U go girl, save a horse and ride your cowboy till u can't ride no more......
Ickes: U getting your freek on yet sweety?
Victim: No she is getting ready to go-to bed now
Ickes: Okay then, let me know if there's anything I can do 2 help my luv......
~ Victim: Ok babe
Ickes: Well sweety, can u feel my rock hard eight inches slamming in and out of you

hot juicy love tunnel?

Victim: Yeah babe i feel it

Ickes: Well u keep on feeling it till you squirt your hot sticky juices all over my sweaty
balls

Victim: Mmmm babe its making me moan

Ickes: Moan shiver and shake my sweetest angel of luy, I want u 2 cum like crazy all
over big daddy seen

Ickes: Oooowww babe, squeeze daddy's hot nuts till my hot cumm sprays all up insidde
of u......

Victim: Mmm babe

Ickes: R ustill getting your freak on sweety?

Victim: No babe im done

Ickes: I hope u had a good one my luv......

Victim: I did
Case 3:10-cr-00041-DNH Document1 Filed 12/03/09 Page 11 of 29

(continued into November 16, 2009)

Ickes: Good, wish I could've done more 2 help princess......

November 16, 2009

Ickes: Did u just wake up 2?

Victim: No i been up since around 8 something

Ickes: Oh. Hey, when your mom invited us to Thanksgiving, does that mean she's okay
with us dating 2?

Victim: Idk babe che just told me to invite you and bozo down

Ickes: Ok then, I guess we better stick to the plan that we're not going 2 date unless she

gives us her consent

Victim: Yeah

Ickes: Ok then my sweetest friend, I'm feeling kinda homy now......

Victim: I'm not im feeling kind of like shit

Ickes: _ I'm sorry luv, is there anything I can do 2 make u feel better?

Victim: No if only you could make this headache go away

Ickes: Well sweety, I have relieved a few girls of both cramps and headaches by

plunging my thick hard magic wand in and out of them, but I'd have 2 be there 2

do so
Victim: Yeah thats y i said you cant do anything to help me rite now
Ickes: I'm sorry my luv, if only I could teleport myself there I'd do my best 2 rid u of

that dreaded headache. Even so, I am still praying 4

Oe eee eee e sce e ee ees FoF Et OOOH EPA NORE O LODE SESE DC EONEEHEDRDEDDOSEDSE DOSES EOOE
Case 3:10-cr-00041-DNH Document1 Filed 12/03/09 Page 12 of 29

Ickes: Heck, it's gonna cost me over a hundred just for gas sweety. Plus I was gonna try

2 get u a lightyear phone 4 an early christmas present - another hundred

Victim: Ok babe ill talk to my mom to work something out

Victim: Hey i got a question

Ickes: What's up sweetness......

Ickes: Hello?

Victim: Is that phone a pic phone

Ickes: Yes......°

Victim: Sweet thats so cool your really gonna get me one

Ickes: I said I would, as long as u'll be my girl and help me with our quest my luv.....
Victim: Ok babe and i already said i would be your girl

Ickes: Well then, all u have 2 do is try 2 please me as much as I please u and things will

work out fine...

Victim: Ok babe are you getting me unlimited texting

Ickes: _ U'll be on my family plan. So yes u'll have unlimited texting plus unlimted
calling after seven on wkdays and all day on wkends

OOD Re eee Reece Cee HONE EPAEO EDEL SASDOOCESUFELITSOROEDENSSSEUTOSFOCUOL OOH ESS

Ickes: How's your pussy purring luv kitten?

Victim: _Its kind of horny but again I have to wait
Ickes: Damn the torpedoes, aye?
Victim: Yeah

Come cece eee Oe ee HOSE eee TSOCOEOTONEOOEDEEEE ORES OED EEN OOS ODED SOESEDESOOES
Case 3:10-cr-00041-DNH Document1 Filed 12/03/09 Page 13 of 29

Victim: So what are you doing babe?
Ickes: I'm just playing a game on my computer and talking 2 a friend on the phone.
How bout u sweety?
Victim: O sound fun and nothing sitting here being bored and thinking about you
Ickes: Well sweety, I'm thinking about u 2 and getting a stiffy. maybe we can get freaky

in a little bit, aye?

Victim: Yeah babe, if you want to

Ickes: - J'd luv 2 as long as you're game sweetness......

Victim: Ok babe

Ickes: When do u think your aunt will go 2 bed?

Victim: Around 1030 but im doing it through texting not talking on the phone
Victim: Can you call me now

Ickes: Okay luv child, whenever you're ready we can put the sex in text......
Victim: Ok well call me first

Ickes: Okay, I'm calling u now.....

Victim: K

(Approximately sixty five minutes after this text message from the Victim, the following text is

sent):

Ickes: Hey luvergirl, whatchu doing?

Victim: Nothin much babe

Ickes: Did u enjoy our lil' luv session sweetness?
Victim: Yeah i did babe

12
Case 3:10-cr-00041-DNH Document 1 Filed 12/03/09 Page 14 of 29

Ickes: Me 2 sweety, can't wait till we can make it real, right?

Victim: Yeah i know babe

November 17, 2009

Ickes: Hey, whatcha know about them crotchless panties sweetness

Victim: What are you talking about

Ickes: I'm just wondering if u ever sported a pair and made good use of them?
Victim: What are you talking about

Ickes: I don't think I got your last text?

Victim: I said what are u talking about

Ickes: Like lingere and other erotic items such as flavored lubricants and things......
Ickes: Earth to (Victim's name) come in (Victim's name)...... Lol

Victim: Lol im here its just i didnt know what your were talking about

Ickes: Well, like I said, r u into erotic stuff like crotchless panties, flavored lubricants,

sex toys, etc....

Victim: Yeah but what do you mean by crotchless panties

Ickes: They're panties that r made with a whole in the crotch so u can be penetrated
without taking your panties off. They're way hot my luv......

Victim: O well i never wore them

Ickes: Cool sweetness, I get to broaden your horizons in the world of erotica and cyber
sex my luv. U won't be sorry sweetness......

Victim: Ok babe

Ickes: I'm gonna rock your world sweety.....

13
Case 3:10-cr-00041-DNH Document 1 Filed 12/03/09 Page 15 of 29

Victim: Really babe

Ickes: I'm working on the application 4 your phone right now luvergirl.

Victim: Sweet babe and thanks so much but can you please get me a number down here
Ickes: Yes, can do princess sevens

Victim: Thanks babe

Ickes: Do u get verizon service all right down there?

Victim: Yeah its the most popular around here

Ickes: Okay, cuz lightyear uses verizon's towers.

Victim: Ok yeah thats a good thing cause verizon is really popular around here
Ickes: Cool beans babygirl......

Victim: Yeah i know babe

Ickes: Okay luv, I got the application filled out, but I can't call 2 get it ordered until

seven oclock. Try 2 remind me when it's seven, okay sweets......

Victim: Ok babe

Ickes: So how's that sweeet juicy kitty cat purring 2night my luv?
Victim: Im not doing anything rite now cause im doing homework
Ickes: Wowseeewuuuwuun babygirl.....:.....

Ickes: Whatcha doin sweets?

Victim: Reading

Ickes: R udone with your homework yet?

Victim: ' No thats why i have to read

14
Case 3:10-cr-00041-DNH Document 1 Filed 12/03/09 Page 16 of 29

Ickes: I just finished the application, now I'm watching porn on the web. I'm sooo
horny........

Victim: O well give me a little and ill help you out

Ickes: Give u a little what sweety?

Victim: Little time

Ickes: Okay then, I'll save the motherload just 4 u my luv.

Victim: K babe

Ickes: Hurry up so I can call u and bust these nuts up in 2 your tight juicyness my
luv......

Victim: K babe

a) On November 18, 2009, VPD officers interviewed Ickes at 3145 Stewart
Road, Lot A-21, Vestal, New York. The following text message conversations, in part, also

occurred on November 18, 2009:

Novmeber 18, 2009

Ickes: Hey sweety, u out of school yet?
Victim: . Yeah babe
Ickes: Hey, I need 2 talk 2 u about something important as soon as possible
Victim: Ok what did i do
Ickes: It's not u this time, it's about me luv.
Victim: Ok what did you do
Ickes: Must talk by phone.
. Victim: Well i cant receive calls on my phone

15
Case 3:10-cr-00041-DNH Document 1 Filed 12/03/09 Page 17 of 29

Ickes: I know, when can I call u on your aunts phone?
Victim: Idk cause im not home rite now and how long is it gonna take caus i can call u on

my moms cell just as long as it dont take long

Ickes: I guess it can wait till later after u get home

Victim: Ok is it bad

Ickes: Could be 4 me if we're not careful.

Victim: Whats that mean

Ickes: It's 2 complicated 2 get into texting, but it's nothing u have 2 worry about. I'll

explain later my luv......
Victim: Ok babe are u done with me or something
Ickes: No sweety, if it's up 2 me u'll be mine 4ever......

November 19, 2009

Ickes: Just finishing up with the extermination for bedbugs here in my home office......

Victim: O sounds fun

Ickes: Oh yeah, it's almost as fun as getting a tooth pulled at the dentist. U just don't
know.....

Victim: O

Ickes: U never replied 2 my last text at lunch. What's up with that?

Ickes: R u at home sweetness?

Victim: Sorry there was teachers around

Ickes: Good call, last thing we need is that kind of attention, aye?

Victim: Yeah

16
Case 3:10-cr-00041-DNH Document1 Filed 12/03/09 Page 18 of 29

ROR eR ERO E HERR AE DEER HEA OEE RESO OO SS ESOEESSSU CDSEO URES OEEOESESDTETO DOSS OSS

Ickes: Oh yeah, being as we're both gonna have lightyear phones, we're free mobile 2

mobile, which means we can talk 4 free 24/7

Victim: Yeah but id rather text

Ickes: Guess we can compromise my sweetest luv......

Victim: Yeah

Ickes: After all, we'll also have unlimited texting 2 my princess......
Victim: I kno babe

Ickes: K, but some things are safer 2 do over the phone, if u know what I mean.......
Victim: Yeah

Ickes: Wuzup babygirl?

Victim: Nm babe reading a book

Ickes: All homework and no play makes (Victim) a dull girl........ Lol
Victim: Lol

Ickes: R u ready 2 purr yet luv kitten?

Victim: No

Ickes: Sucks 2 be u my luv...... Lol

November 20, 2009

Ickes: Mornin luv child, whatchu doin?
Victim: In math class
Ickes: U + me in bed =?

17
Case 3:10-cr-00041-DNH Document1 Filed 12/03/09 Page 19 of 29

Victim: Fun

Ickes: Looks like your mathematics is pretty good 2 me

Ickes: So when do I get to hear that sexy voice of yours again sweetness?
Victim: Tomorrow nite

Ickes: What's the other question luv?

Ickes: Damn, that's way 2 long.....

Victim: Will the phone have the internet on it

Victim: Sorry

Ickes: No, but it would be nice, aye?

Victim: Yeah

Ickes: You don't have to be sorry luv, just be ready 4 a hot session
Victim: K

Ickes: Is your mom working 2nite?

Victim: No thats y i said tomorrow nite

Ickes: Okay my luv. R u feeling better now luvergirl?

Victim: Yeah cause of the pain pill they gave

Ickes: What kind was it?

Ickes: Hey, I think I missed your last message cuz my inbox was full
Victim: Vikeidin

Ickes: No wonder you're feeling better sweets.....

Victim: I kno rite

18
Case 3:10-cr-00041-DNH Document 1 Filed 12/03/09 Page 20 of 29

Ickes: Heck, v can do it in the butt now...... Lol :)

Ickes: Nuthin like backdoor luvin on downers...

Victim: Yeah

Ickes: U don't know?

Victim: About what

Ickes: About backdoor luvin on downers?

Victim: No

Ickes: R u still a backdoor virgin?

Victim: Yeah

Ickes: Well then, I'll clue you in, the best way to lose your backdoor virginity is on

downers. Most girls seem 2 like it more than regular sex when they're on dope
Victim: O ok
Ickes: I prefer vaginal sex myself, but I don't mind broadening a girls horizons if she

wants 2 go 4 it. I'm a great teacher of the sexual arts.....

Victim: Um ok

Ickes: . Can I ask you a question luv?

Victim: Yeah

Ickes: What color panties are u wearing?

Victim: A pink thong with smiley faces on it and its silk

Ickes: “Ooooweeee baby. Can I ask u a few more question on the subject my luv?
Victim: Yeah

Ickes: K. how do u keep your kitty cat groomed?

19
Case 3:10-cr-00041-DNH Document1 Filed 12/03/09 Page 21 of 29

Ickes:
Victim:
Victim:
Ickes:
Victim:

Ickes:

Victim:
Ickes:
Victim:

Ickes:

Victim:
Ickes:
Victim:
Ickes:
Victim:
Ickes:

Victim:

Do u like 2 do it doggie style?

No

Shaved

So is your kitty cat bushy, trimmed, or shaved?
Shaved

Well sweetness, like the big bad wolf said 2 lil’ red riding hood. The better 2 eat

Lol yeah
R u getting juicy for me sweetness?
A little

Sure wish I could giver a good tongue lashing..... I bet u taste sweeter than

Yeah babe

Do u like the taste of your own juice?

No

But u do like the taste of other girls juices, aye sweetness?

Yeah babe

I can't wait to see you in action. Definitely camcorder action to say the least......

Lol

November 21 2009

Victim:

Ickes:

Lol what day r u leaving when u get down here

Whatever day u want me 2. But I was thinking about sunday if that's okay with

20
Case 3:10-cr-00041-DNH Document1 Filed 12/03/09 Page 22 of 29

everyone else

Victim: I dont want to sound mean or anything but i wanted to go visit family so i was
gonna ask u to leave on friday

Ickes: I don't figure you're being mean, but I don't see much in coming down 4 just 2

days when we got so much to catch up on with each other......

Victim: Well idk cause i want to visit family

Ickes: Maybe we should just wait 4 your christmas vacation or something?

Victim: Thats up to u i just dont want u getting mad about it

Ickes: I wouldn't be mad, J just thought I would have priority for our first visit and all. I

really wouldn't mind meeting your relatives, but I wouldn't want 2 impose.

Victim: Yeah but there the kind of people that they like to talk to u first before they meet
u

Ickes: As in over the phone or what?

Victim: Yeah plus on friday my mom has plans 4 me and her to spend time together

Ickes: With my relatives, I simply call and ask them if they mind me bringing a friend o

whatever, and if they said they do, then I would simply visit them later.

Victim: O well mine are different

Ickes: Especially if u were 2 drive all the way up here 2 be with me.
Victim: See ur getting mad about it

Victim: And with my uncle he wouldn't appreciate me taking a 46 year old there and me
being 16 he doesn't believe in that

Victim: Please dont be mad at me u can come down if u want i wont go anywhere except

21
Case 3:10-cr-00041-DNH Document1 Filed 12/03/09 Page 23 of 29

Ickes:

Ickes:
Victim:
Ickes:
Victim:
Ickes:
Victim:
Victim:
Ickes:
Victim:
Ickes:
Victim:
Ickes:

Victim:

on friday

No sweety, I'm not getting mad. I just don't understand the sudden change of
heart. You're making me feel like you're not 2 thrilled about me coming after all
Where u at and whatcha up 2 sweety?

My friends and on the computer

Did u ever check the email I sent u with my pics?

No

Can u do it now?

Yeah i think ur cute

No and i think ur cute:

Oh, so u finally got 2 see me, aye?

Yep

So, u think u might like 2 jump me then?

Yeah

K

November 22, 2009

Ickes:

Victim:

Ickes:

I think I'm gonna start numbering my texts so u can tell whether or not you're

getting them all........ 1
Ok sounds good to me but around 10:15 call me

Sounds good sugar, I'll text u 2 make sure......

22
Case 3:10-cr-00041-DNH Document 1 Filed 12/03/09 Page 24 of 29

Victim: K

Victim: Hey wait till 30 after 10

Ickes: Ok luv.......

Victim: K

Victim: U can call now but im not doing anything sexual over the phone.

b) On November 23, 2009, PSP officers interviewed the Victim at her
residence in Pennsylvania. The following text message conversations, in part, also occurred on
November 23, 2009:

November 23, 2009

Ickes: Hey ru still there?
Ickes: Well r u gonna ask me sweetness?
Ickes: Ok, maybe you're just paying me back, aye? Whatever luv, Have a great night

then. Luv u, bye.....

Victim: Well i cant do this anymore cuz the police were just at my house

Ickes: Ok, guess we're done then. Sorry things had 2 end this way. We can't fight city
hall, aye?

Victim: I still love u and everything we just got to be careful

Ickes: I tried 2 explain things 2 u, but there just wasn't enough time.....

Victim: It's fine im just stressed but please dont cancel the phone

Ickes: It's all yours sweetness.....

Victim: Ok babe thanks

Ickes: Hey, is your mom mad at me?

23
Case 3:10-cr-00041-DNH Document1 Filed 12/03/09 Page 25 of 29

Victim: Idk y
‘ Ickes: Well, tell her I'm very sorry, and that I had every intention of telling her the truth

about everything once I got down there 2 meet u both.......

‘Victim: Its fine im still talking to u we just have to be careful

Ickes: More than u know my luv...

Victim: ~ Yeah

Ickes: U might even want 2 keep our texts deleted.

Victim: ] plan on it

Ickes: Same here, I'm doing it right now sweety.

Victim: I already did

Ickes: Good girl, it's not easy staying a step ahead of the beastly authorities...
CONCLUSION

20. Based upon all of the information set forth in this affidavit, your Affiant
respectfully submits that there is probable cause to believe that John Bradley Ickes violated Title
18, United States Code, Section 2422(b) by using a facility or means of interstate or foreign
commerce to knowingly persuade or attempt to persuade, induce, entice, or coerce any
individual who has not attained the age of 18 years, to engage in prostitution or any sexual
activity for which Ickes can be charged with a criminal offense. New York State Penal Law
Section 260.10(1), titled "Endangering The Welfare of a Child", makes it a state crime if a
person knowingly acts in a manner likely to be injurious to the physical, mental, or moral
welfare of a child less than seventeen years old. Pennsylvania Criminal Statutes Section 6301,

titled "Corruption of Minors", makes it a state crime if a person of the age of 18 years and

24
Case 3:10-cr-00041-DNH Document 1 Filed 12/03/09 Page 26 of 29

upwards (Ickes was 46 years .old when conduct commenced), by any act corrupts or tends to
corrupt the morals of any minor less than 18 years of age (the Victim). Your Affiant

respectfully requests a warrant be issued for Ickes’ arrest for Violation of Title 18, United States

T,

es T. Lyons, Jr
pecial Agent, FBI

Code, Section 2422(b).

SUBSCRIBED TO AND. SWORN TO
BEFORE ME THIS 2 “DAY
OF DECEMBER, 2009

¥
DA E. PEEBLES ~’

UNITED STATES MAGISTRATE JUDGE
NORTHERN DISTRICT OF NEW YORK

25
Case 3:10-cr-00041-DNH Document1 Filed 12/03/09 Page 27 of 29

EXHIBIT 1
Case 3:10-cr-00041-DNH Document 1 Filed 12/03/09 Page 28 of 29

Sex Offender(ID: 26844) Information on 12/03/2009 10:08 am Page | of 2

Current Reported Offender Details

County of Broome

Anyone who uses this information to injure, harass, or commit a criminal act.
against any person may be subject to criminal prosecution.

Offender Id: 26844 Race: White
Last Name: ICKES Ethnicity: Unknown
First Name: JOHN Height: 5°11"
Middle Name: B Weight: 245
DOB: Mar 19, 1963 Hair: Brown
Sex: Male Eyes: Hazel
Risk Level: 3 - Corr. Lens:

Photo Date: May 1, 2009

Reported 10 WASHINGTON AVE
Address: APT13.

City: ENDICOTT State: NY . Zip Code: 13760

View map The view map feature Is currently not supported on browser versions lower than version
4.0.7 in IE or version 6.01 in Netscape

Other Address Info or Status:
Address Confirmed by Offender on May 04, 2009

Sex Offender Type
Designation: No Designation Applies
Conviction:
Date Arrest Agency _ Suprv. Agency Victim Sex/Age
Nov 5, 1996 Texas Department Female, 16 Years
of Public Safety -
Sex Offender
Registry

Conviction Charges:

(Please note: a conviction for an attempt is generally punishable at one grade below the

classification of the crime attempted, i.e., a rape 2nd degree {s punishable as a class D felony
’ while an attempted rape 2nd degree is punishable as a class E felony.)

Title Section Subsection Class Category Degree Description

OUT 000000000 000000 U F 0 Non-NYS Felony Sex
Offense

Sentence:

” Ute tice Mes cdlan ndada ase conlant Hntaenatinaae!fartane JoanireName=WehNsOrR 12/3/2009
Sex Offender(ID: 26844) Information on 12/03/2009 10:08 am

Case 3:10-cr-00041-DNH Document 1 Filed 12/03/09 Page 29 of 29

incarceration Sentence: 8 Year(s), State Prison.

Maximum Expiration Date/post Release Supervision Date of Sentence:

The legal dates posted on this site are the dates which were reported at the time of
registration and are subject to change. The conditions of supervision are subject to change
during the supervision period. The special conditions of release do not apply past the
maximum expiration date of sentence because the offender Is no longer under supervision by
the listed supervising agency for this crime.

Scars, Marks & Tattoos:
Description
Tattoo-Shouider, teft

Additional Names/Aliases: |
Last Name First Name Middle Name
iCKES . . JOHN BRADLEY —

College Info:
Employed/Attend Name Street City State Zip

Employer Info: .
Status : Street City State Zip

Vehicles:

Lic. Plate No. State Vehicle Year Make/Model Color
sO AL 1996 Ford Truck White

DZS4757 . NY 1995 Ford F150 White

Special Conditions:

Offense Description & Modus Operandi:

Offense Description:
Actual, MoreThanOnce Sexual Intercourse
Actual, MoreThanOnce Deviate Sexual Intercourse
Actual, MoreThanOnce Sexual Contact
Relationship to victim: Non-Stranger - Otherwise Known
Weapon used: Unknown
Force used: Unknown
Computer used: Unknown
Pornography involved: Unknown

Vitae Penmaes manlane len Mewntinan néata wwe vinians Rutarnatinoar/fariprai?eerviceName= WehNSOR wee

DCJS Home

Page 2 of 2

12/3/2009
